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                                                                                   2018 Jun-25 AM 09:10
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

ZANGELA JENKINS, individually and             )
on behalf of all others similarly situated,   )
                                              )
      Plaintiff,                              )
                                              )
v.                                            )   Case No.: 2:17-cv-0768-JEO
                                              )
CREDIT BUREAU OF BESSEMER,                    )
                                              )
      Defendant.                              )

                                       ORDER

      A joint stipulation of dismissal with prejudice has been filed, signed by

counsel for all parties who have appeared. (Doc. 15). Accordingly, this action is

DISMISSED WITH PREJUDICE, with each party to bear its own fees, costs,

attorney’s fees, and expenses. See Fed. R. Civ. P. 41(a)(1)(A)(ii). The Clerk is

DIRECTED to close the file.

      DONE, this 25th day of June, 2018.




                                        _________________________________
                                        JOHN E. OTT
                                        Chief United States Magistrate Judge
